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                                   8                                  UNITED STATES DISTRICT COURT
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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                                                             SAN JOSE DIVISION
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                                  12     NATIONAL URBAN LEAGUE, et al.,                    Case No. 20-CV-05799-LHK
Northern District of California
 United States District Court




                                  13                   Plaintiffs,                         ORDER RE: UNITED STATES
                                                                                           SUPREME COURT’S STAY AND CASE
                                  14             v.                                        MANAGEMENT CONFERENCE
                                  15     WILBUR L. ROSS, et al.,
                                  16                   Defendants.

                                  17

                                  18          By Friday, October 23, 2020, the parties shall each file a statement identifying the

                                  19   implications of the United States Supreme Court’s stay pending appeal of the Order Granting

                                  20   Plaintiff’s Motion for Stay and Preliminary Injunction, ECF No. 208. In addition, the Court

                                  21   continues the case management conference scheduled on Friday, October 16, 2020 to Tuesday,

                                  22   October 27, 2020 at 1:30 p.m. Pacific Time.

                                  23   IT IS SO ORDERED.

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                                  25   Dated: October 13, 2020

                                  26                                                   ______________________________________
                                                                                       LUCY H. KOH
                                  27                                                   United States District Judge
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                                       Case No. 20-CV-05799-LHK
                                       ORDER RE: UNITED STATES SUPREME COURT’S STAY AND CASE MANAGEMENT CONFERENCE
